
29 So. 3d 456 (2010)
Andrea KEISTER, Appellant,
v.
AGENCY FOR PERSONS WITH DISABILITIES, Appellee.
No. 1D09-4164.
District Court of Appeal of Florida, First District.
March 11, 2010.
Valarie Linnen, Jacksonville, for Appellant.
John Beranek, Tallahassee, for Appellee.
PER CURIAM.
DISMISSED. See Pagenet, Inc. v. State, Dept. of Revenue, 843 So. 2d 1027 (Fla. 1st DCA 2003); Augustin v. Blount, 573 So. 2d 104 (Fla. 1st DCA 1991).
DAVIS, BENTON, and MARSTILLER, JJ., concur.
